Case 1:06-cv-20634-PAS Document 1 Entered on FLSD Docket 03/15/2006 Page 1 of 15



                           IN THE UNITED STATfj        TRIO           .OVIR'
                          FOR THE SOUTHERN Tb
                                       (Miami Division )

   KARIN MODELS, S .A .R .L . ,
   a Societa a Responsabilita Limitata . Case No : x-4 l!                            :% r"T
                                                                                              IUI Z
           Petitioner Original Action Pending in the U.S . Trademark
   v. and Appeal Board
                                  Case No: 9204404 0
   JEAN LUC BRUNEL  .
   an individual ,

           Respondent .


           RESPONDENT'S MOTION TO QUASH SUBPOENAS ISSUED B Y
      COUNSEL TO PETITIONER WITH INCORPORATED MEMORANDU FjA V
                                                                                              --   s
           Respondent . JEAN LUC BRUNEL . by and through his undersigned counsel, her'13'' flies

   his Motion to Quash Subpoenas with Incorporated Memorandum of Law and says :

           1 . This is an action to cancel a registration of a trademark owned by Respondent

   JEAN LUC BRUNEL pending before the U .S . Trademark and Appeal Board . On February 28,

   2006, Petitioner's counsel issued one and possibly more subpoenas as an officer of the Court of

   the United States District Court of the Southern District of Florida . Pursuant to Rule 45 of the

   Federal Rules of Civil Procedure, motions to quash the subpoenas must be brought before the

   Court from which the subpoena was issued .

           2 . Petitioner's counsel issued a subpoena and caused the same to be served on

   Timothy Crutchfield, Esq . as prior counsel to Mr . Brunel to produce documents at the office of

   Petitioner's counsel on March 7 . 2006 . The subpoena was served on Mr . Crutchfield on March 6 .

   2006 . A copy of said subpoena is attached hereto as Exhibit A .

           3 . Upon receipt of the subpoena, Mr. Crutchfield contacted JEAN LUC BRUNEL's

   counsel and informed him of the subpoena .
Case 1:06-cv-20634-PAS Document 1 Entered on FLSD Docket 03/15/2006 Page 2 of 15
                                                                                    Karin Models v . Brunel
                                                                                          Motion to Quas h


           4 . Counsel to JEAN LUC BRUNEL was not provided notice of the subpoena prior

   to its issuance as required under Rule 45 of the Federal Rules of Civil Procedure .

           5 . As counsel to JEAN LUC BRUNEL was not provided notice of the issuance of

   the subpoena to Mr . Crutchfield and only learned of the subpoena from Mr . Crutchfield, counsel

   has now way to know if other subpoenas have been issued and served on other third-parties in

   this case without notice .

           6. Mr . Crutchfield filed an objection to the subpoena served on him as untimely and

   as interfering with the attorney/client privilege, a copy of which is attached hereto as Exhibit B.

                                      MEMORANDUM OF LAW

           Rule 45 of the Federal Rules of Civil Procedure, which are adopted pursuant to 37 CFR

   §2.116 as the Rules of the U .S . Trademark and Appeal Board provides that : "Prior notice of any

   commanded production of documents and things or inspection of premises before trial shall be

   served on each party in the manner prescribed by Rule 5(b) ." Rule 5(b) is the general rule for

   service of papers in a case other than the complaint . Accordingly . Petitioner was required to

   serve notice of the intended document production on counsel to JEAN LUC BRUNEL . No such

   notice was served.

           It is well settled law that notice provisions of Rule 45 are mandatory such that failure to

   provide such notice is sanctionable . In Mid-Atlantic Constructors . Inc. v. Stone & Webster

   Construction, Inc . . 231 F .R.D . 465 (E .D. Pa., 2005), the Court granted sanctions against a party

   who failed to provide notice before service of a subpoena for production of documents . The

   purpose of the notice is to provide an opportunity for parties to object prior to the date of the

   production . Alexander v. Raytheon Aircraft Company, 220 F .R.D . 661 (D . Kan . 2004). As the

   rules now allow for attorneys to issue subpoenas without applying to the Court . the requirements
Case 1:06-cv-20634-PAS Document 1 Entered on FLSD Docket 03/15/2006 Page 3 of 15
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                                                                                            Motion to Quash


   of Rule 45 must be followed to preserve the public confidence in the integrity of the court

   processes . Murphy v . Board of Education, 196 F .R .D. 220 (W .D .N.Y. 2000) .

           Petitioner served the subpoena on Mr . Crutchfield without prior notice to counsel to

   JEAN LUC BRUNEL . As such, the subpoena must be quashed and Petitioner must proceed in

   accordance with the Federal Rules of Civil Procedure . However . as notice has been served even

   now, there is now way for BRUNEL to determine if this is the only subpoena . As such .

   Petitioner was also be compelled to disclose what, if any . other subpoenas have been issued in

   this case and any subpoenas that have been issued without notice must be quashed and

   appropriate remedies granted to BRUNEL if any documents have already been produced

   pursuant to those subpoenas .

           Finally. it must be noted that this is not an academic exercise in following the rules as

   BRUNEL has substantive objections to the subpoena served on Mr . Crutchfield . Mr . Crutchfield

   was BRUNEL's counsel in some of the transactions which are in dispute in the matter before the

   Trademark and Appeal Board . As such. there are substantial attorney/client and work product

   privilege issues which would need to be addressed prior to production of any documents from

   Mr. Crutchfield .

           It is also relevant to this inquiry that Petitioner has sought documents from four third-

   parties in accordance with Rule 45 prior to Mr . Crutchfield . but has yet to make a document

   request to the party JEAN LUC BRUNEL . That is, Petitioner is seeking production of documents

   from counsel to a party prior to making an attempt to obtain the documents from the party . When

   this subpoena is properly issued, an objection will be raised to any production from Mr .

   Crutchfield when Petitioner has not followed the basic steps to determine if the documents can

   be obtained from the primary source : i .e ., the opposing party.




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Case 1:06-cv-20634-PAS Document 1 Entered on FLSD Docket 03/15/2006 Page 4 of 15
                                                                                    Karin Models v . Brunel
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           Wherefore, JEAN LUC BRUNEL prays that the subpoena to Timothy Crutchfield be

   quashed, that Petitioner's counsel be ordered to disclose what other subpoenas he has issued, that

   all such subpoenas be quashed, and that if any documents have already been produced, that

   appropriate relief be afforded to JEAN LUC BRUNEL . that Petitioner be required to have all

   further subpoenas it may wish to have issued by this Court issued by the Clerk of the Court upon

   proof of proper notice, and such other relief as this Court may find just .

                                                  Respectfully subsmitte d

                                                  KOZLOWSKI LAW FIR M
                                                  A Professional Association
                                                  Attorneys for Plaintiff
                                                  The Sterling Buildin g
                                                  927 Lincoln Road, Suite 1 18
                                                  Miami Beach, Florida 33139
                                                  Tel : (305) 673-898 8
                                                  Fax : (305) 673-866 8




                                          By :
                                                  STEVEN ROBERT KOZLOWSKI
                                                  Fla . Bar No . 008789 0

                                     CERTIFICATE OF SERVIC E

          I HEREBY CERTIFY that a copy of the foregoing Motion to Quash Subpoena was served

   on Steven E . Eisenberg, Esq ., and Erica W . Stump, Esq ., Attorneys for Petitioner . Feldman Gale .

   P.A ., 201 South Biscayne Boulevard , Miami Center-Suite 1920 . Miami , FL 33131 by U .S . Mail

   this \. day of March, 2006 .




                                                  STEVEN ROBERT KOZLOWSKI
                                                  Fla. Bar No . 008789 0



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                                                        DEFINJIiO VS


        Plcas ~: note the following definiticm .
            1.      a. The terms " Petit'oner ." " Propounding Part, ," and "KARIN NI .ODELS ,

        S .A .1` mean KARIN MOL)'E S, S .A .R .L, its employees , principals , dii ectorti, u-anagers, officers,

        owners , partners , agents, a'tuineys , other representatives , and any and all predecessor companies,

        andior succ.ess,ors :n interest thereo ; all pas : or p resent divisions , subs i diaries, uihi 't iates or parents of

        any of the foregoing entities ; all past orpresent j oint ve- .tures, pa:'merehips or limited partnerships of

        which any of the foregoing entities . s a : Dint r ::ntw cr or a litrited partner: all past or present officers,

        directors , :^ anager :;, owners, partners, employees and agents , including without liniitatior. attorneys,

        acco ..ntarts, auditors, consultants and other professional persons or expe rt s, and any investigators or

        other pcrsen acting on behalf of . at the direction af, or under the control of any suc person, of any

        of the foregoing persons or entities .

            2 . The term s "Respondent," JEAN LUC BRUNEL," mean JEAN LUC BRUNFL, his agents,

        attorney, ; other represe ntatives , and any and all p:cdeccssor companies and/or individ -- als, and. or

        successors in interest thereto including all pe-sons n; active concert or participation with him .

            3 . The term "Marks" m eans Registrant ' s Ur: :ted States ttadeniark registration numbers

        2,114,051 and 2 , 115,957 for KARIN - and KAR LN MODLLSa (and Design ) and US Serial Numbers

        73/592,000 and 7Sr592, 0W for KARINUSA and KAREN OF ANMERICA .

            4 . Thr: tern ; " Respondr it ' s Goods and Setl'ices" shall refer to any and all predicts or service,

        `.4hich are , have been, will be, or are intended to be offered for sale . cl,strih tcd or sold by

        Respondent and that bear the Marks, i ncluding but not limbed to tl ;e goods set forth m r'le recitation

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                "PTO" :weans the United States Patent and Trademark Offic e

           6.   " U .S." means Unitcd States of America .

           7 . The term "document" is used herein in its customary broad sense as defined in Fed .R .Civ .P . .

       Rule 34(a't(1) . and includes, without being limited to, the original and all copies (carbon, photocopy,

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            S . "Or" moans "and,or'" : and the terms "and" as well as "or" shat : be construed either

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           9 . The terms "relating to" or "co,ceeming" means with respect to, referring to, relating to .

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            10. The t ;,rm "identify" when used in reference to anv individual person means to state his or her

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        and business afi;liation . When used in reference to a person other than an individual person,

        •`identi .f) rnearts to state whether such person is a corporation, partnership or other -Pt)q,,, anti it

       ranie . present or last known address and principal place of its business .

            11 . The term "personas)" refers to both natural persons and to corporate or other bt .si:nc3s

        entities, partnerships, groups, 3SSOCistio115, governmental entities, or Other organi2ations .

            12 . The terms "communication" or "communications" refers the act rnr tact of trarsnvtting

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                  1 . All documents reh:ting to the tiling of the assignment of the Trademark KARIN,

          Registration No . 2,114,051 t~ Re pondent dated November 18, 199-7 .

                  Z All documents relatr.7g to the Filing of the assigrunenr of . :ne, I'radernark KARIN

          MODELS (and Design), R .egistraTion No . _,115,957 to Respondent dated Noveinber 25 . 199"1 .

                  3 . All documents received fro : Respondent relating to the ss ;igrrmeni of the, Trademark

          1~-,k RIN, Registration No . 2, 11 4,G51 to Respondent dated November 18, 19 1-17 .

                  4 . All documents received from Respondent relating to the a5sigrnncn- of the Trademark

          KARIN MODELS (and Design) Registration No . 2,1 15,957 ,o Respondent dated November 2i,

          i997,

                  5 All documents •-eceived Born all and any third parties relating to the ass :grrtnent of th e

          Trademark KARIN, Re_is*rati .on No . 2,114,051 to Respondent dated November I k, 1997 .




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                  6 . All documents received from all aid any third parties relating to the assignment of the.

        Trademark Iv-ARIN MODELS (and Design), Registration No . 2, .15, 95, to Respondent dated

        November 25, 1997 .

                  7 . All drafts of documents r:latiar to tie assignment of the Trad-,rnark KARIN .

        Registration No . 2 .1 14,x51 to Respondent dated November 18 . 1997 .

                  8 . All drafts o documents relating to the relating to the assignment of the Trademark

        KAh N MODELS ( and Design ), Regis !rarionNo . 2,115,957 to Respondent dated November 25 .

        1997 .

                       A.:1 notes exchanged with Respondent relating to the assignr:tent of the Trademark

        KARIN,Registration No . 2 .114,051 to Rcsponden : dated November 18, 1997 .

              1 C . A .U notes exchanged with Respondent relating; to the Essignn-ClIT of the Trademark

        KARIN MODELS (and Design), Registration No . 2,115,957 to Respondent dated November 25,

        199 : .

              '. t . Ail mail an d electronic mail exch::ngcd with Respondent relat :rig to tine assignment of the

        Trade:,-,ark KAREN, Registration No . 2,114, 051 to Respondent dated November 18 , 1997.

              12. Al! mail and electronic mail exchanged with Respo ndent relating to the ass :gnment of the

        Trademark KARIN MODELS (and Design ), Registration No . 2,115,957 to Respondent dated

        November 25 . :997 .

              13 . All records of telephone Conversations with Respondent relating to the assignment of the

        Trademark KARIN, Registration No . 2,114,051 to Respondent dated Noy ember 18, 1997' .

              14. All records of telephone : conversations with Re s pondent relating to the ,assignment of the

        Trademark KARIN MODELS (and De„gn ), I<egistr ::tion N,- . 2,115,957 tr Respondent dated

        November 2` . 1997 .




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              15 . All advisory reports given to Respondent relating to the t:ssignn:ent of the Trademark

        KA .1ttN, Regis*ration No . 2,114,05 1 to Respondent dated November IF, 1997 .

              16 . All advisory reports given to Respondent relating to the. assignment ofthe'Tradcmai-k

        KARiN MODELS (a,-d Design!, Registration No . 2,1 15,957, to Respondent dated November 25 ,

         1997 .


              i-I       All records of any and all coil] .: uni ; ation with Respondent relating to :he assigrur_ent o f

        the Traden-,ark KA)t1 .N, Registration ile . 2,14,051 to Respondent dated November 18, 1997 .

               i R . All records of any and all communication with Respondent rel ating to the assignment of

        the Trademark KARIN MOtDELS (and Design!', Registrat :on No . 2,115,957 to Respondent :fated

        Noven .be° 25, 1997 .

                        Aiiy and all promissory rote : executed by Respondent relating ' .o assignment of th e

        '1•rardtniark K .ARJN, Regirnr.tioi: No . 2,114,051 to Respondent dated November ! 8, 1997 .

              20 . Any and El promisso ry notes executed by Respondent ref tying to assignment of the

         Trademark KARTN MODELS ( .nd Design ), Registration No .2,115,957 to Pespond,r.t dated

        ~NTovemr.ber 25, 1997 .

               ,1       All corporate records :-elating to the Resolution of Shareholders by Written Consen t

        leg: rdir,g Peytt~eut of AniO wits Due Jean Luc Brunel, dated or or about. December 29, 2002 .

               22 A':i corporate records relating to the dissolutior_ of IM c Jcls Man agement Group

         Pairtnersl :ih .

               23 . All corporate accords eating to ,he dissolution of Models Nlariagemcnt Group . In, : .

               ~4 . A.i corporate records relating to the withdraw, a) from Partner :slap and ssoh :rioiI OF

         Partnership .




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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISIO N

        ORIGINAL ACTION PENDING IN THE U .S. TRADEMARK 'I RIAL AND APPEAL BOARD

       KAR.LN MODELS, S .A .R.L .,
       A Societa A Responsabilita
       Limitata ,

               Petitioner,

       vs .

       JEAN LUC BRUNEL,
             An Individual ,

               Respondent




                                    TIMOTHY H. CRUTCHFIELD'S
                               OBJECTION TO SUBPOENA DUCES TECEI M


               Timothy H . Crutchfield ("Crutchfield"), who is not a party to the above-styled matter, was

       served with a Subpeona Deces Tecutn on Alarch 7, 2006, demanding the production of twenty-four

       categories of documents on the following day, March 8, 2006, and 'ne objections to the subpoena

       pursuant to federal Rule of Civil Procedure 4-5(c) on the following grounds :

               I . Crutchfield was not provided sufficient time to respond to the subpoena where it was

       served the day before the date of production demanded in the subpoena.

              2 . Furthermore, the requested documents are subject to the attomey'client and attorney

       work product privileges . Crutchfield is a licensed attorney in the state of Florida who providcs legal

       representation to lean Luc Brunel, and the documents requested in the subpoena consist ofprivilegcd
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        communications between Mr . Brunel and his attorney as well as attorney work product files relating

        to the legal services Crutchfield provided Mr. Brunel .

                                                              Respectfully Sub_nitted ,




                                                              rIMOTHY H . CRUTCHFII3LD, ESQ .
                                                              Pro Se
                                                              1401 Brickell Ave .
                                                              Suite 100 0
                                                              Miami . Florida 33131
                                                              Phone : 305-577-1054
                                                              Fax : 305 -577-9712
                                                              Florida Bar No . 62161 7

                                         CERTIFICATE OF SERVIC E

               I hereby certify chat the forgoing was served by fax and U .S . mail this 6O'day of March, 2006,

        upon Steven E . Eisenberg, Esq ., Feldman Gale, P.A ., Miami Center,19ih Floor, 201 South Biscayne

        Blvd ., Miami, Florida 33131 ; and Steven Robert Kozlowski, Kozlowslu Law Firm, P .A ., The

        Sterling Building, 927 Lincoln Road, Suite Suite 118, Miami Beach, Florida 33129 .




                                                           '- TIMOTHY H . CRUT
      Case 1:06-cv-20634-PAS Document 1 Entered on FLSD Docket 03/15/2006 Page 15 of 15
'-JS44 ( Rel . 11 .05)                                                     CIVIL COVER SHEE T
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and serti ice ofpleadings orother papers as required by law, except as provided
by local rules of court . This form, approved by the Judicial Conference of the United States in Seotenlber 1974 . is required for the use of the Clerk of Court for the nurpose of initiating
the civil docket sheet . (SEE INSTRUCTIONS ON THE REVERSE OF TIIE FORM I NOTICE : Attorneys MUST Indicate All Re-filed Cases Below .

1 . (a) PLAINTIFFS
  Karin Models, S .A .R .L .
                                                                                                           DEF D S
                                                                                                           Jea e1o'                            20 6
   (b) County of Residence of First Listed Plaintiff                                                       Cotmty of Residence of Ilrs r . e ent
                                                                                                                                             i"  E
                         (EXCEPT IN U .S . PLAINTIFF CASES )                                                                                 (IN U .S . PLAIN [11 :17 CASES ONL Y

(c) Attorney's I Firm Name, Address, and Telephone Number )                                                       NOTE : IN LAND CONDEMNATION CASES, USE TIIE LOCATION OF THE TRACT
                                                                                                                          LAND INVOLVED .
Steven E . Eisenberg, Esq .
Feldman Gales, P .A . 201 South Biscayne Blvd ., Suite 1920 .
        FL 33131 ( 305) 358-5001


(d) Check County Where Act           Arose : VI MIAMI- DADE 1 MONROE B R                                       M BEACH         71 MARTIN 1 ST LUCIE /1 INDIAN RIVER 1 OKEECHOBE E
                                                                                                                                                                       HIGHLAND S

If . BASIS OF JURISDICTION                          (Place art "X- in One Box Only)                  CITIZENSHIP OF PRINCIPAL PARTIES( P                                                   in One Box for Plaintif f
                                                                                                        (For Diversity Cases Only )                                                        x for Defendant)
1 I    L' .S Governmen t             to 3    Federal Question                                                                         PTF       DEE                                             PTF DEE
           Plaintiff                          (U .S . Government Not a Pam l                       Citizen of This State        1        1      O I       Inc rporatcd nr                      1 4 7 4
                                                                                                                                                          ofrusiness In tc
                                                                                                                                                             /  r
J2    U .S . Goycrnmcnt               O 4     Diversit y                                           Citizen of Another State     1               1     -   Incoraxiratcd and PriDc,j
          Defendant                                                                                                                                          of HtgiAesc In An
                                               (Indicate Citizenship of Parties in Item 111 )

                                                                                                   Citizen or Subject of a                            3   Foreign J mM " i 1 1 (1 1 6
                                                                                                     Foreign Country
IV . NATURE OF SUIT                   (Place an "X" in One Box Onl
          CONTRACT                                           TOR TS                                    FORFEITURE/PENALTY                           BANKR PT                           THE TATUT E
1 110 Insurance                         PERSONAL INJURY                   PERSONAL INJURY      -1 610 Agriculture                        1 422 Appeal 28 USC 15j. -            1 4 ate R pportionmmni
O 12)) Marine                       7 310 Airplane                    1 362 Personal Injury -  0 620 Other Food & Drug                   1 423 Withdrawal                      1 4I0"itrust ,
1 130 Miller Act                    7 315 Airplane Produce                    Med . MalpracticeO 625 Drug Related Seizure                      229 USC 157                     3 430 VL 1ks and Bankin g
O 140 Negotiable Instrument                Liability                  Ti 365 Personal Injury -         of Property 21 USC 881                                                  '1 450 Commerce
1 150 Recaycry of Overpayment       1 320 Assault, Libel &                   Product Liability fl 630 Liquor Laws                             PROPERTY RIGHTS                  1 461) Deportatio n
       & Enforcement of Judgment           Slander                    7 368 Asbestos Personal  0 640 R .R . & Truck                      Ti 920 Copyrights                     1 4711 Racketeer Influenced and
O I51 Medicare Act                  71 330 Federal Employers'                 Injury Product   0 650 Airline Regs                        O 930 Patent                                 Corrupt Organization s
1 152 Recovery of Defaulted                Liability                         Liability         fl 660 Occupational                       3 9411 Trademark                      1 480 Consumer Credi t
       Student Loans                7 340 Marine                       PERSONAL PROPERTY               Safetv .Health                                                           1 4911 Cable : Sat T V
       (Excl Veicrans l             O 3 .35 Marine Product            7 370 Other Fraud        O 690 Other                                                                     1 810 Scleciie Sen Ice
1 153 Rcco% er of Overpayment              Liability                  1 371 Truth in Lending   I LABOR                                      SOCIAL SLCURITY                    1 851) Securities Commoditie s
        of Veteran's Benefits       71 350 Motor Vehicle              1 380 Other Personal     rl 710 Fair Labor Standards               1 861 HIA (1395n)                             Exchang e
1 160 Stockholders- Suits           O 355 Motor Vehicle                      Property Damage           Act                               O 962 Black Lung (9231                1_ 975 Customer Challeng e
1 190 Other Contract                       Product Liability          7 395 Property Damage    0 720 Labor, Mgmt . Relations             O 963 DIWC DIWW 1405igu                       12 USC' 341( 1
1 195 Contract Product Liability    1 360 Other Pe rs onal                   Product Liability rl 730 Labor Mgmt.Reporting               1 864 SSID Title Xt'1                 1 890 Other Statutory Actions
1 196 Franchise                            Injury                                                      & Disclosure Ace                  7 965 RSI (405(g))                    7 991 Agricultural Act s
     REAL PROPERTY                       CIVIL RIGHTS                  PRISONER PETITIONS O 740 Railuav Labor Act                           FEDERAL TAX SUITS                  7 892 Economic Stabilization Ac t
Ti 210 Land Condemnation            0 441 Voting                      O 51(1 Motions to Vacate O 790 Other Labor Litigation              _Ti 870 Taxes (US Plaintiff           Ti 893 Em ironmental Mailer s
0 220 Foreclosure                   0 442 Employment                         Sentence          7 791 Empl . Ret . Inc                          or Defendant)                   1 894 Energy Allocation Ac t
1 230 Rent Lease & Ejectment        rl 443 Housing                         Habeas Corpus :             Security Act                      1 971 IRS-Third Pane                  1 895 Freedom of Informann n
/ 2411 Tons to Land                        Accommodations             Ti 530 General                                                           26 USC 7609                            Ac t
1 245 Ton Product Liability         0 444 Welfare                     7 535 Death Penalty                                                                                      1 900Appcal of Fec Detemtinauo n
1 2911 All Other Real Property      1 445 Amer . w ;Disabilities -    1 540 Mandamus & Other                                                                                          Under Equal Acces s
                                           Employment                 1 550 (:1% it Rights                                                                                            to Justic e
                                    71 446 Amer. w'Disabil itics -    7 555 Prison Condition                                                                                   1 950 Consniutionalily o f
                                          Other                                                                                                                                       Stale Statute s
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V . ORIGIN                 I Place an "X" in One Box Only )                                                                                      Ap eal to District
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VI . RELATED/ RE-FILED                       (See instructions
CASE(S) .                                    second page)                                                                                     DOCK CF
                                                                      JUDGE
                                                                                                                                              NUMBE R
                                         Cite the U .S . Civil Statute under which you are filing and Write a Brief Statement of Cause ( Do not cite jurisdictional statutes unless
                                         diversity) :
VII . CAUSE OF                            Motion to quash a subpoena issued from Southern District U .S . Court pursuant to Rule 45 of Federal Rules of
ACTIO N                                   Civi l
                                         LENGTH OF TRIAL via 0                    days estimated (for both sides to try entire case )
VIII . REQUESTED IN                      ❑    CHECK IF THIS IS A CLASS ACTIO N                        DEMAND S                                        CHECK YES only ifdenmanded in complaint :
       COMPLAINT :                            UNDER FR.C P 2 1                                                                                        JURI DEMAND : j O Yes Ia N o

ABOVE INFORMATION IS TRUE &                        RRECT TO
THE BEST OF MY KNOWLEDGE

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